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                                                THE HONORABLE BARBARA J. ROTHSTEIN
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 7                                 UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8

 9 VANCOUVER CLINIC INC. P.S., a                No. 3:20-cv-05605-BJR
   Washington corporation,
10                                              JOINT RULE 26(f) REPORT AND
                   Plaintiff,                   DISCOVERY PLAN
11
         v.
12
   AFFILIATED FM INSURANCE
13 COMPANY, a Rhode Island corporation,

14                           Defendant.

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27 JOINT RULE 26(f) REPORT                               STEIN, SUDWEEKS & STEIN, PLLC
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 1            Counsel for Plaintiff The Vancouver Clinic Inc. P.S. (“TVC”) and Defendant Affiliated FM

 2 Insurance Company’s (“AFM”) (collectively, the “Parties”) met and conferred on October 14,

 3 2020, and hereby submit their joint status report and discovery plan pursuant to Federal Rule of

 4 Civil Procedure 26(f), Local Civil Rule 26(f), and the Court’s July 30, 2020 Order Regarding

 5 Initial Disclosures Joint Status Report, Discovery, Depositions and Early Settlement [Dkt. 7] (the

 6 “July 30th Order”):

 7 I.         STATEMENT OF THE NATURE AND COMPLEXITY OF THE CASE

 8            TVC is a healthcare provider with medical clinics located in the Vancouver, Washington-
 9 area. TVC has tendered a claim to its insurer, AFM, under an AFM policy purchased by TVC for

10 losses that TVC contends result from COVID-19. In connection with tendering its claim, TVC has

11 provided AFM with information that TVC contends shows that it has documented the presence of

12 COVID-19 at seven of its clinics. TVC contends that the Policy has a $300 million limit, and that

13 it has suffered more than $25-million in damages that should be covered.

14            AFM asserts that the policy purchased by TVC provides limited coverage for
15 “communicable disease,” as that term is defined in the policy. But the policy does not provide

16 coverage for TVC’s alleged business losses and is expressly excluded.

17            TVC has filed an Amended Complaint asserting claims for: (1) Declaratory Relief; (2)
18 Breach of Contract; (3) Anticipatory Repudiation of Contract; (4) Insurance Bad Faith; (5)

19 Violations of Consumer Protection Act; and (6) Insurance Fair Conduct Act Violations. AFM

20 denied any and all liability for these claims.

21            TVC also filed a motion for summary judgment as to coverage on October 20, 2020 [Dkt.

22 14]. AFM believes TVC’s motion is premature under FRCP 56(d), unsupported by admissible

23 evidence, and should be denied. AFM has asked TVC to continue the motion so that limited

24 discovery can be conducted and cross motions regarding coverage can be filed. TVC has not

25 agreed to continue its summary judgment motion, taking the position that its motion can be

26 resolved on the four corners of the Policy or, in the alternative, on the limited evidence it submitted

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 1 in support of its motion.

 2            At present, the Parties view this case as being of moderate complexity.

 3 II.        CONSOLIDATION

 4            The Parties believe that consolidating this case with the other pending COVID-19 business

 5 interruption loss cases in the Western District of Washington does not make sense, and the Parties

 6 will be prepared to share their rationale with the Court at the November 9 case management

 7 conference or by separate writing, if requested.

 8            TVC understands and appreciates the Court’s desire to handle these cases in an efficient
 9 manner and believes that, if the Court is so inclined, it makes sense for these cases to proceed on

10 tracks based on the insurer. AFM does not presently believe that consolidating this case with the

11 Aspen Lodging case, cited below, will result in any increased efficiency.

12 III.       PROPOSED CASE DEADLINES

13            A.        Trial

14            TVC believes this case should be ready for trial on or around November 15, 2021. TVC

15 understands that the other COVID-19 business interruption loss case pending against AFM in this

16 district, Aspen Lodging Group LLC, et al. v. Affiliated FM Insurance Co., Case No. 2:20-cv-

17 01038-BJR (the “Aspen Lodging case”), is scheduled to go to trial on January 24, 2022. [Dkt. No.

18 13] TVC believes this case should be tried first because it is not as complex as the Aspen Lodging

19 case, including because AFM already has found that there is coverage as to TVC’s claim and the

20 Aspen Lodging case involves a chain of hotels, some of which are located outside Washington

21 State. TVC believes a reasonable trial date is about a year from now, or November 15, 2021.

22            AFM disagrees that this case should be tried before the Aspen Lodging case, because this

23 case was filed after the Aspen Lodging case. Given the disparity of facts and issues surrounding

24 each case, AFM does not believe taking this case out of line will provide any additional benefit to

25 any party, in either case, or the Court. AFM believes a reasonable trial date is March 14, 2022.

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 1            B.        Fact and Expert Discovery Deadlines

 2            TVC requests the following case deadlines:

 3                 •    Join additional parties:           April 5, 2021

 4                 •    Amend the pleadings:               June 4, 2021

 5                 •    Fact discovery cutoff:             August 2, 2021

 6                 •    Designate experts:                 September 6, 2021

 7                 •    Designate rebuttal experts:        September 24, 2021

 8                 •    Expert discovery cutoff:           October 15, 2021
 9                 •    Trial Date:                        November 15, 2021
10            AFM requests the following case deadlines:
11                  • Join additional parties:             December 14, 2020
12                  • Amend the pleadings:                 August 9, 2021
13                  • Designate expert:                    August 9, 2021
14                  • Designate rebuttal experts:          September 13, 2021
15                  • Complete discovery:                  December 13, 2021
16                  • File dispositive motions:            January 10, 2022
17            C.        Service on Defendant
18            Defendant AFM has been served.

19            D.        Scheduling Conference

20            The parties agree that there is no need for a scheduling conference prior to a scheduling

21 order being issued in this case.

22 IV.        PROPOSED DISCOVERY PLAN

23            A.        Initial Disclosures

24            The Parties held a Rule 26(f) conference on October 14, 2020, and exchanged Rule

25 26(a)(1) initial disclosures on October 21st, pursuant to the Court’s July 30th Order.

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 1            B.        Subject, Timing and Potential Phasing of Discovery

 2            TVC does not believe discovery is necessary at this time because it has filed a motion for

 3 partial summary judgment, and believes the Court can rule on its motion based on the four corners

 4 of the Policy or, alternatively, on limited evidence that is not in dispute. If the Court does not

 5 grant its motion for partial summary judgment, TVC intends to pursue discovery regarding the

 6 nature and extent of AFM’s defenses, including by deposing key fact witnesses and experts as

 7 appropriate and exchanging written discovery.

 8            AFM disagrees and believes that limited discovery is necessary before the Court can fairly
 9 and fully address the issue of whether there is coverage under the AFM policy.

10            TVC does not believe discovery needs to be conducted in phases. AFM, in contrast,
11 believes that discovery regarding TVC’s extra-contractual claims should be stayed pending motion

12 practice on the coverage issues.

13            C.        Anticipated Discovery Sought
14            If necessary, TVC will seek discovery from AFM regarding, among other things: TVC’s
15 claim for coverage under AFM”s Policy; the claim file and underwriting manuals; industry

16 communications pertaining to COVID-19 coverage; documents sufficient to show the drafting

17 history, interpretation, and implementation of relevant policy terms and training of personnel

18 related thereto; interpretative materials, both internal and external, relating to drafting history,

19 interpretation, and implementation of relevant policy term; communications with the Washington

20 Office of the Insurance Commissioner or other relevant state or federal insurance authorities

21 regarding the meaning, interpretation, and significance of relevant policy terms; and

22 communications to policyholders regarding the relevant policy terms.

23            AFM intends to conduct discovery regarding, among other things: (1) the reported cases

24 of, and testing for, COVID-19 at the insured locations, (2) the closures or limiting of operations at

25 those locations, (3) the closures of nearby locations, (4) the governmental orders alleged to have

26 interfered with TVC’s business and the reasons for same, and (5) the losses alleged to have been

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 1 sustained by TVC.

 2            D.        Proposed Limitations on Discovery

 3            The Parties are not currently asking this Court to alter any of the limitations on discovery

 4 under the Federal Rules of Civil Procedure.

 5            TVC believes that, if discovery moves forward, it is appropriate to take depositions

 6 remotely in light of the COVID-19 pandemic.

 7            E.        Electronically Stored Information

 8            The Parties are not aware of any issues relating to electronically stored information at this
 9 time.

10            F.        Privilege Issues
11            The Parties believe that issues concerning attorney-client privilege, work product and
12 proprietary trade secrets are possible but not anticipated.

13            G.        Discovery-Related Orders
14            The Parties may produce documents containing confidential, sensitive business
15 information. In order to protect this information, the Parties intend to ask this Court to enter the

16 model Stipulated Protective Order.

17            H.        Phasing of Motions
18            The Parties do not propose phasing motions at this time.

19            I.        Discovery Management

20            The Parties believe they can cooperate in the management of Discovery.

21            J.        Preservation of Discoverable Information

22            The Parties do not believe there are any issues relating to the preservation of discoverable

23 information at this time.

24            K.        Inadvertent Disclosure of Privileged Information

25            In the event of the inadvertent disclosure of information claimed to be privileged, the

26 Parties will follow the procedures set forth in Federal Rule of Evidence 502.

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 1            L.        Model Protocol for Discovery of ESI

 2            The Parties do not believe this case will involve the model protocol for the discovery of

 3 electronically stored information.

 4            M.        Alternative to Model Protocol

 5            The Parties do not believe this case will involve an alternative to the model protocol for the

 6 discovery of electronically stored information.

 7 V.         CASE RESOLUTION, ETC.

 8            A.        Proposals for Prompt Case Resolution
 9            TVC believes the case should be resolved or narrowed through its motion for partial
10 summary judgment.

11            AFM believes the case could possibly be resolved on dispositive motion, which should
12 come first via cross-motions, after limited discovery.

13            B.        Alternative Dispute Resolution
14            TVC believes that this case should be mediated in the near term.
15            AFM is open to discussing settlement, including at a mediation, but AFM is less optimistic
16 that settlement negotiations will be fruitful this early in the litigation.

17            C.        Related Cases
18            The Parties are not aware of any related cases that satisfy the criteria in LCR 3(g)(4).

19            D.        Consent to Magistrate

20            The Parties do not consent to proceed with a magistrate judge.

21 VI.        TRIAL

22            A.        Trial by Jury/Non-Jury

23            The trial will be by jury.

24            B.        Trial Length

25            The parties anticipate 7-10 court days for trial.

26            C.        Bifurcation

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 1            TVC does not believe that bifurcating the issues to be tried will be necessary.

 2            AFM will seek to bifurcate TVC’s claims for coverage from its claims for extra-contractual

 3 relief.

 4            D.        Pretrial Statements

 5            The parties agree that an exchange of witness lists and exhibits will suffice in lieu of a full

 6 pretrial order.

 7            E.        Suggestions for Shortening or Simplifying the Case

 8            TVC believes the case should be resolved or narrowed through its motion for partial
 9 summary judgment.

10            AFM believes this case could possibly be resolved on dispositive motion, which should
11 come first via cross-motions, after limited discovery.

12            F.        Trial Conflicts
13            The Parties’ counsel are unaware of any trial conflicts at this time.
14 VII.       ADDRESSES FOR COUNSEL

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 8            Respectfully submitted this 28th day of October, 2020.
 9

10                                                 STEIN, SUDWEEKS & STEIN, PLLC

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                                        CERTIFICATE OF SERVICE
 1
              I hereby certify that on October 28, 2020, a copy of the foregoing Document and this
 2
     Certificate of Service were served on counsel below as noted:
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              I declare under penalty of perjury under the laws of the United States that the
10
     foregoing is true and correct.
11            SIGNED this 28th day of October, 2020, at Seattle, Washington.
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